Case 2:22-ap-01125-DS   Doc 253 Filed 02/29/24 Entered 02/29/24 13:23:48   Desc
                         Main Document     Page 1 of 2


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     INFERNO INVESTMENT, INC.
13
                        UNITED STATES BANKRUPTCY COURT
14
                        CENTRAL DISTRICT OF CALIFORNIA
15
                                 LOS ANGELES DIVISION
16   In re:                               Case No. 2:21-bk-18205-DS
17
     CRESTLLOYD, LLC,                       Chapter 11
18
                   Debtor.                  Adv. No. 2:22-ap-01125-DS
19   INFERNO INVESTMENT, INC., a
     Quebec corporation,                    STATUS REPORT OF PLAINTIFF
20                                          AND COUNTER-DEFENDANT
                    Plaintiff,              INFERNO INVESTMENT, INC.
21
     v.
22                                          Date:        March 7, 2024
     CRESTLLOYD, LLC, a California          Time:        11:30 a.m.
23   limited liability company; HANKEY      Courtroom:   1639
     CAPITAL, LLC, a California limited
24   liability company; YOGI
     SECURITIES HOLDINGS, LLC, a            Action Filed: June 9, 2022
25   Nevada limited liability Company;
     and HILLDUN CORPORATION, a
26   New York corporation,
27
               Defendants.
28   AND RELATED CROSS-ACTIONS.
                                            1
                                    STATUS REPORT
Case 2:22-ap-01125-DS    Doc 253 Filed 02/29/24 Entered 02/29/24 13:23:48         Desc
                          Main Document     Page 2 of 2


 1   TO THE COURT AND ALL PARTIES OF RECORD HEREIN:
 2         The parties to this adversary proceeding held an initial mediation in this
 3   matter on November 21, 2023, before the Honorable Sheri Bluebond as Mediator.
 4   Prior to mediation, the parties conducted an exchange of documents pursuant to
 5   formal document requests.
 6         At the initial mediation session on November 21, the parties resolved to
 7   exchange accountings reflecting the calculation of their respective claims, and then
 8   to conduct a further session with the Mediator. Unfortunately, delays then ensued
 9   attributable in part to Yogi’s substitution of counsel. Nevertheless, the accounting
10   information was ultimately exchanged earlier this month. A second mediation
11   session was tentatively scheduled for February 21, 2024 with Judge Bluebond, but
12   unfortunately was recently postponed due to a schedule conflict of another party.
13   The parties are presently attempting to reschedule the mediation.
14         Under the circumstances, Inferno respectfully submits that the Status
15   Conference should be continued approximately 45 to 60 days to allow the parties to
16   conduct further mediation, before the matter is returned to the regular trial calendar.
17   It is hoped that further mediation sessions will result in a resolution of some or all
18   of the disputed issues.
19
     Dated: February 29, 2024                       LAVELY & SINGER
20                                                  PROFESSIONAL CORPORATION
                                                    MARTIN D. SINGER
21                                                  PAUL N. SORRELL
                                                    MAX D. FABRICANT
22
                                             By:     /s/Paul N. Sorrell
23                                                  PAUL N. SORRELL
24                                                  Attorneys for Plaintiff and Counter-
                                                    Defendant INFERNO INVESTMENT,
25                                                  INC.
26

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                                      STATUS REPORT
